Case 5:21-cv-05001-TLB                  Document 14              Filed 07/26/21           Page 1 of 1 PageID #: 801




                                IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF ARKANSAS
                                       FAYETTEVILLE DIVISION


PAIGE VORARATH                                                                                     PLAINTIFF
o/b/o TYLER VORARATH

         v.                                      CIVIL NO. 21-5001


KILOLO KIJAKAZI 1, Acting Commissioner                                                             DEFENDANT
Social Security Administration


                                                          ORDER

         Before the Court is Plaintiff’s Unopposed Motion for Extension of Time to File a Brief.

(ECF No. 13). For good cause shown, and there being no objection thereto, the Court hereby

grants the motion. Plaintiff shall file a brief by no later than, August 25, 2021. Defendant shall file

a responsive pleading by no later than September 24, 2021.

         IT IS SO ORDERED this 26th day of July 2021.




                                                 /s/Christy Comstock
                                                 HON. CHRISTY COMSTOCK
                                                 UNITED STATES MAGISTRATE JUDGE




1
  Kilolo Kijakazi has been appointed to serve as the Acting Commissioner of Social Security, and is substituted as Defendant,
pursuant to Rule 25(d)(1) of the Federal Rules of Civil Procedure.
